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 1                                                THE HONONORABLE JAMAL N. WHITEHEAD
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 3                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
 4                                     AT SEATTLE
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     JOHN ELLIOTT, RICARDO                 No. 2:24-cv-01218-JNW
 7   CAMARGO, JAVIER ROVIRA, and
     BRADLEY SMITH,
 8                                         JOINT MOTION TO CONSOLIDATE RELATED
                   Plaintiffs,             ACTIONS UNDER LOCAL CIVIL RULE 42
 9
             v.                            NOTE ON MOTION CALENDAR:
10                                         November 8, 2024
     VALVE CORPORATION,
11
                   Defendants.
12
     CONNOR HEPLER and AARON                  No. 2:24-cv-01735-JNW
13   LANCASTER, Individually and on
     Behalf of All Others Similarly Situated,
14
     Plaintiffs,
15
     v.
16
     VALVE CORPORATION,
17
     Defendants.
18
     BRANDON DRAKE and ERIC                   No. 2:24-cv-01743-MLP
19   SAAVEDRA, Individually and on
     Behalf of All Others Similarly Situated,
20
     Plaintiffs,
21
     v.
22
     VALVE CORPORATION,
23
     Defendants.
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 1          Pursuant to Local Civil Rule 42(a), Plaintiffs John Elliott, Ricardo Camargo, Javier Rovira,
 2   and Bradley Smith (“Elliott Plaintiffs”); Connor Hepler and Aaron Lancaster (“Hepler Plaintiffs”);
 3   and Brandon Drake and Eric Saavedra (“Drake Plaintiffs”) respectfully submit this Joint Motion to
 4   Consolidate Related Actions. This Joint Motion seeks to consolidate three related actions: Elliott et
 5 al. v. Valve Corporation, No. 2:24-cv-01218-JNW (W.D. Wash.), Hepler et al. v. Valve

 6 Corporation, No. 2:24-cv-01735-JNW (W.D. Wash.), and Drake et al. v. Valve Corporation, No.

 7 2:24-cv-01743-MLP (W.D. Wash.).

 8          Elliott and Hepler are currently pending before this Court. Drake is currently pending before
 9 Hon. Michelle L. Peterson in this District. Elliott, Hepler, and Drake are putative class actions on

10   behalf of PC video game consumers, alleging that a common defendant—Valve Corporation—has
11   used anticompetitive restraints of trade to unlawfully monopolize the market for PC game
12   distribution and harm consumers. Consolidating these cases pursuant to Local Civil Rule 42(a) will
13   promote efficiency and conserve the Court’s and the parties’ resources.
14          Movants therefore respectfully request that the Court consolidate the Hepler and Drake
15   actions into the lower-numbered Elliott action, under the master caption In re Valve Consumer
16   Antitrust Litigation. Movants do not believe consolidation with the consolidated PC game publisher
17   class action In re Valve Antitrust Litigation, No. 2:21-cv-00563 (W.D. Wash), is appropriate at this
18   time but understand the Court will consider this question separately pursuant to its own briefing
19   schedule. Movants have met and conferred with defendant Valve pursuant to Local Civil Rule 42(b).
20   Valve states that it “supports consolidation of the consumer class action cases generally, but believes
21   that the Colvin Plaintiffs’ case should be included in the proposed consolidated matter. See Wolfire
22 Dkt. 376.”

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 1         DATED this 8th day of November, 2024
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 4
                                        CERTIFICATE OF SERVICE
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 6
              I hereby certify that on November 8, 2024, I electronically filed the foregoing with the Clerk
 7
     of the Court using the CM/ECF system, which will send notification of such filing to all CM/ECF
 8
     recipients.
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     Dated:        November 8, 2024                           /s/ Steve W. Berman
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                                                              Steve W. Berman
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